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                                IN THE LINITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                              (Portland Division)


JEDEDIAH GORDON, ôn individual,
                                                         Case No.:
                   Plaintiff,
         v                                               COMPLAINT

SHIMADZU USA MANUFACTURING,                              Violations of the Americans with Disabilities
INC., an Oregon corporation,                              Act,42 U.S.C. $$ 12112 &' 12203 and
                                                         Oregon's Antidiscrimination Against Persons
         Defendant.                                      with Disabilities Law, ORS 659A.109,112 &
                                                         .118 - Failure to Accommodate and
                                                         Retaliation

                                                         Jury Trial Demanded



                                     .IURISDICTIO        AND VENUE

         1.        This Court has original jurisdiction over Plaintiff s federal statutory claims

pursuant to 28 U.S.C. 5 1331. This Court has supplemental jurisdiction over Plaintiffs state-law


claims pursuant to 28 U.S.C 5 1367 because the claims have a common nucleus of operative

facts and are thus part of the same case or controversy




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       Z.      Venue is proper in the District of Oregon Portland Division pursuant to 28 U.
                                                                                                                        S


                                                                                 is the
C. $ 1391(b)(1) because Defendant Shimadzu USA Manufacturing, Inc. ("Shimadzu"),

sole defendant in this action and a resident of the State of Oregon with its
                                                                             principal place                       of

business in Portland.

                                                   PARTIES

        3.     Plaintiff Jedediah Gordon is an individual and        a resident      of Oregon. Plaintiff

suffers from a severe hearing impairment that substantially limits his ability to hear.

        4.        Defendant Shimadzu USA Manufacturing, Inc., ("Shimadzu") is an Oregon

corporation. At all times material,it was doing business within the State of Oregon and in this

judicial district, and it operated by and through its officers, directors, employees, agents, and

representatives, who were acting within the scope of their authority and in furtherance                     of

Defendant's business interests.

        5.        Defendant employs not less than 15 persons and has employed not less than 15

persons for each working day in at least 20 calendar weeks in this or the immediately preceding

calendar years.

                                    ADMINISTRATIVE EXHAUSTION

        6.        Plaintiff filed   a   complaint with the Civil Rights Division of Oregon's Bureau of

Labor and Industries ("BOLI") on April 8,2016. That filing was dual filed with the EEOC.

        7.        BOLI dismissed Plaintiffs administrative complaint and issued Plaintiff                     a    right-

to-sue letter on April7,2017        .




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                                    FACTUAL ALLEGATIONS

        8.        Plaintiff Jedediah Gordon began working for Defendant Shimadzu on May 28,

2014 asan electro-mechanical assembler, with an initial wage of $12.00 per hour working an

eight-hour shift.

        g.        During Mr. Gordon's initial employment, Jennifer Cobb, Shimadzu's Senior

Human Resources Generalist, asked if he could "read lips," acknowledging that Mr. Gordon has

a hearing     impairment. Mr. Gordon responded by saying that, while he could "kind of " read lips,

everyone's mouth moves differently, indicating that it was not a sure way for him to understand

what people were saying.

        10.        Shimadzu required its employees to attend monthly meetings and daily morning

meetings. At the daily morning meetings, the assembly line leader would make announcements

regarding work schedules, daily work issues, quotas, etc.

        l l.       On May 29,2014, Mr. Gordon's second day of work, he told his immediate

supervisor, Maria Jacobo, that he was unable to hear her during the morning meeting and

requested that she write down the information that was discussed during those meetings. Ms.

Jacobo did not comply with that request.

          12.      In order to gather the information presented at the morning meetings, Mr. Gordon

depended on his coworkers to write what Ms. Jacobo or the assembly line leader discussed

during the morning meetings on the white board at the end of the production line. Mr. Gordon

also met with his coworker, Tyler Valentine, one-on-one after the moming meetings to make

sure that he received all of the pertinent information that was discussed.




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        I   3   .   Mr. Gordon was absent from work from March 2l , 2015 through June 8, 20 1 5

due to an off-the-job injury second to a motor vehicle accident.

        14.         After his return to work, Mr. Gordon received his first annual performance

review. During that review, the Production Manager, David Cawood, informed Mr' Gordon that

he was getting a pay raise from $12.00 to $12.60 per hour due to his work speed, accuracy and

positive attitude.

        15.         Shortly after receiving that raise, Mr. Gordon met with Ms. Jacobo and explained

that he could not hear her speak during the morning meetings. Mr. Gordon again requested that

Ms. Jacobo have someone write down pertinent information or that she pull him aside for face-

to-face communication after the meetings. Mr. Gordon made these verbal requests for

accommodation rather than filing a formal complaint to HR, out of professional coufiesy.

        16.         Despite his requests for accommodations, Ms. Jacobo only had one-on-one

meetings with Mr. Gordon for a few weeks and then stopped. As a result, Mr. Gordon continued

to face obstacles with receiving information discussed during the monthly and morning

meetings.

        17.         Subsequently, Human Resources informed Mr. Gordon that his verbal requests to

Ms. Jacobo "did not count" because he did not make a written request directly to Human

Resources.

        18.         In August 2015, Mr. Gordon made a verbal complaint to Ms. Cobb in Shimadzu's

HR Department that Ms. Jacobo did not inform him of the August monthly meeting. Mr.

Gordon explained that Ms. Jaobo and he had an ongoing communication problem due to Mr.

Gordon's hearing impairment.


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        19.      The next week, Mr. Gordon met with Ms. Jacobo and Mr. Cawood where they

asked what kinds of accommodations     Mr. Gordon would need going forward. Mr' Gordon

reiterated that he needed to receive written information or have Ms. Jacobo talk
                                                                                 with him one-on-

one after the moming meetings. Mr. Cawood agreed to have the "highlights" of
                                                                             the morning


meetings written down for me.

       20.       On September 22,2015, Mr. Gordon had a meeting with Ms. Jacobo and Mr.

Cawood where they claimed that he had a "bad attitude" at   work. During this meeting, Mr.

Cawood accused Mr. Gordon of not wanting to work at Shimadzu. Mr. Cawood also told Mr.

Gordon that if he "didn't like it, then there's the door." Ms. Jacobo told Mr. Gordon that she

"didn't know what else to do" to accommodate me.

        21.       On October 15,2015,Mr. Gordon submitted an official request for

accommodation form to Shimadzu. The next day, he had a meeting with Ms. Cobb and Bill

Irvine, the Controller of Shimadzu, where they gave Mr. Gordon     a    letter acknowledging receipt

of his written request for accommodation and asked for additional paperwork from his treating

doctor. The deadline for the additional paperwork was October 30,2015.

       22.        In response to Mr. Gordon's request for accommodations, Shimadzu began taking

corrective action against him. On October 2I,20I5, Mr. Gordon received a letter from Ms.

Cobb and Mr. Irvine entitled, "Corrective Action and Response to Jedediah's memo received by

Human Resource on 10/15/15." The pu{pose of the letter was "to document, from HR's

perspective, what occurred to date, clarify misunderstandings, to inform [Mr. Gordon] of SUM's

expectations going forward, and potential consequences    if expectations      aÍe not met."




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        23.      Mr. Gordon had aheady received    a verbal   warning on Septembet 22 for his

alleged "bad attitude" and, therefore, the corrective action was a result of his complaint that

Shimadzu failed to accommodate his hearing disability.

        24.      Over the course of his employment, Mr. Gordon experienced a biased work

environment based on his hearing disability and was subjected to pervasive and hostile

comments and harassing treatment in retaliation for his requests for accommodations.

        25.      The next day, on October 22,2015, Mr. Gordon asked Stan Dean, the backup

assembly line lead, if Ms. Jacobo had said anything important during the morning meeting' As

Mr. Dean was explaining what was discussed during the morning meeting, Ms. Jacobo

approached the two men, seeming annoyed and        initated. Ms. Jacobo stated that          she could not


have one-on-one meetings with Mr. Gordon every day and stated that, "if HR doesn't tell me to

do something by adding it to my job description, I don't have to do it."


        26,      Mr. Gordon explained that he had recently asked Human Resources to document
his hearing disability and that he expected the doctor would confirm that it was "worse than what

[Mr. Gordon was] making it out to be." Ms. Jabobo misunderstood that statement as a threat that
"everything would be worse for us," and that he was implying that the doctor would require her
to write everything down.

        27.       The next day, on October 23,2015, Shimadzu terminated Mr. Gordon's

employment.

        28.       In its termination letter to Mr., Gordon, Shimadzu explained that: "After repeated

attempts by your leads and management to ask for your cooperation, your lack of engagement in

yesterday's morning meeting was found to be unacceptable. In addition, your statement to your




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lead that things would be worse for us after you meet with your doctor, was determined to
                                                                                          be

disrespectful."

            29.     Despite the fact that Shimadzuhadterminated his employment, Mr. Gordon faxed

the forms from his doctor on October 26,2015,which was several days before the deadline
                                                                                                             of

October 30,2015.

            30.     Mr. Gordon has attempted to mitigate his damages'

            3I.     As a result of Shimadzu's unlawful discrimination and termination described

above,      Mr. Gordon has suffered economic damages in an amount to be specifically proven                  at

trial, not to exceed $110,865. Mr. Gordon has also suffered noneconomic damages in the form

of stress, humiliation, anxiety and emotional distress in an amount to be to be specifically proven

attrial, not to exceed $350,000.

                                         CLAIMS FOR RELIEF'
                                      FIRST CLAIM FOR RELIEF

  (Violation of Americans with Disabilities Act        -   Failure to Accommodate Known Disability)

            32.      Plaintiff Jedediah Gordon realleges the allegations set forth above, and in addition

alleges the following.

            33.      As set forth above, Mr. Gordon is a qualified individual with a disability within

the meaning of the Americans with Disabilities Act.

            34.      As set forth above, Shimadzu was aware of Mr. Gordon's disability.

            35.      As set forth above, Shimadzu failed to provide Mr. Gordon with a reasonable

accommodation of his known disability.

            36.      As a result of Shimadzu's failure to accommodate Mr. Gordon's known disability,

Mr. Gordon has suffered noneconomic damages in an amount to be specifically determined by                         a


jury   at   trial not to exceed $50,000.

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       3i.       In addition to any compensatory relief, Mr. Gordon is entitled to his reasonable

attorney fees under 42 U.S.C. ç 12205'

                                  SECO       CLAIM FOR EI,IEF
              (Violation of ORS 6594.112- Failure to Accorpmodate Known Disability)
          38.    Plaintiff Jedediah Gordon realleges the allegations set forth above, and in addition

alleges the following.

        39.      As set forth above, Mr. Gordon is a qualifred individual with a disability within

the meaning of ORS 659A.104'

        40.      As set forth above, Shimadzu was aware of Mr. Gordon's disability.

        4I.      As set forth above, Shimadzu failed to provide Mr. Gordon with                  a reasonable


accommodation of his known disability.

       42.       As a result of Shimadzu's failure to accommodate Mr. Gordon's known disability,

Mr. Gordon has suffered noneconomic damages in an amount to be specifically proven at trial

not to exceed $50,000.

          43.     In addition to any compensatory relief, Mr. Gordon is entitled to his reasonable

attorney fees under ORS 6594.885.

                                   THIRI)             F'OR RELIEF

                     (Violation of Americans with Disabilities Act      - Retaliation)
        44        Plaintiff Jedediah Gordon realleges the allegations set forth above, and in addition

alleges the following.

          45.     As set forth above, Mr. Gordon engaged in protected activity by insisting upon

reasonable accommodations for his known disability and by opposing Defendant's

discriminatory practices including its failure to reasonably accommodate his disability.


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        46.      As set forth above, Defendant was aware of Mr. Gordon's protected activity and

retaliated against him on account of that protected activity by disciplining him, subjecting him to

pervasive and hostile comments in response to his requests for accommodation and ultimately

terminating his employment.

        41.      Defendant's retaliation would dissuade a reasonable person from engaging in

protected activity.

        48.      As a result of this retaliation, Mr. Gordon has suffered economic in an amount to

be specifically proven attrial not to exceed $110,865 and noneconomic damages in an amount to

be specifically proven atl'l.ial not to exceed $300,000.

        49.       In addition to any compensatory relief, Mr. Gordon is entitled to his reasonable

attorney fees under 29 U.S.C. S 79aaQ)þ)'

                                  FOURTH CLAIM FOR RELIEF
                              (Violation of ORS 6594.109- Retaliation)
        50.       Plaintiff Jedediah Gordon realleges the allegations   set forth above, and           in addition

alleges the following.

        51.       As set forth above, Mr. Gordon engaged in protected activity by insisting upon

reasonable accommodations for his known disability and by opposing Defendant's

discriminatory practices including its failure to reasonably accommodate his disability.

          52.     As set forth above, Defendant was aware of Mr. Gordon's protected activity and

retaliated against him on account of that protected activity by disciplining him, subjecting him to

pervasive and hostile comments in response to his requests for accommodation and ultimately

terminating his employment.



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        53.       Defendant's retaliation would dissuade a reasonable person from engaging in

protected activity.

        54.       As a result of this retaliation, Mr. Gordon has suffered economic in an amount to

be specifically proven    attrialnot to exceed $110,865   and noneconomic damages in an amount to


be specifically proven attrial not to exceed $300,000.

        55.       In addition to any compensatory relief, Mr. Gordon is entitled to his reasonable

attorney fees under ORS 6594.885.

                                       PRAYER         R REI,IEF'

        V/HEREFORE, Plaintiff Jedediah Gordon prays for relief as follows:

        1         For judgment in his favor;

        2         For compensatory damages in an amount to be specifically proven attríal not to
                  exceed $460,865;

        J         For his reasonable attorney fees incurred in pursuing this action;

        4         For his costs and disbursements; and

        5         For other relief that the Court deems to be just and equitable under the
                  circumstances.


                  DATED this 5th day of July,2017.

                                         HAGLUND KELLEY, LLP

                                         By :s/Christonher Lund
                                         Christopher Lundberg, OSB No. 941084
                                         clundberg@hk-law.com
                                         Matt Malmsheimer, OSB No. 033847
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                                               Attomeys for Plaintiff




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